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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  BRANDYN MCPHERSON,                                §
    Plaintiff,                                      §
                                                    §
                                                    §
  v.                                                      Case No. 4:23-cv-00517-SDJ
                                                    §
                                                          Jury
                                                    §
  HATHWAY, INC., and BOUNTEOUS                      §
  INC.,                                             §
    Defendants.                                     §

                               FIRST AMENDED COMPLAINT 1

       Plaintiff Brandyn McPherson (“McPherson”) brings this action against his former

employers, Defendant Hathway, Inc. and Defendant Bounteous, Inc. (collectively “Defendants”),

for discharging him. In support, McPherson shows the following.

                          This is an Employment Discrimination Case

       1.      On June 17, 2022, Defendants informed McPherson they were terminating his

employment, and that McPherson’s last day of employment would be June 24, 2022, which it was.

       2.      Defendants’ discharge decision constitutes an unlawful employment practice that

violates two statutes – the Civil Rights Act of 1866, codified at 42 U.S.C. § 1981 (“Section 1981”),

and the Age Discrimination in Employment Act, 29 U.S.C. § 623(a)(1) (“ADEA”).

                                               Parties

       3.      Plaintiff Brandyn McPherson is an individual. He resides in Collin County, Texas.

He has resided in Collin County, Texas without interruption from July 2019 to the present day.


1 Leave of court to file this amended pleading is not necessary because of FED. R. CIV. P. 15(a)(1)(A)

(allowing a “party … [to] amend [his] pleading once as a matter of course within … 21 days after serving
it”).

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         4.    Defendant Hathway, Inc. is a company, formed in Delaware, that does business in

Texas.

               A.      According to the Texas Secretary of State on June 2, 2023, McPherson is

the registered agent for this Defendant. See Ex. A at p. 1. Given this odd circumstance, McPherson

is serving this Defendant via the method described in subpart “B” infra.

               B.      According to FED. R. CIV. P. 4(e)(1), service may be accomplished by

following Texas state law for serving a summons in an action brought in courts of general

jurisdiction of the State of Texas.

                       (i)     According to Texas state law, the Texas Secretary of State is “an

agent for service of process or complaint on a nonresident who (1) is required by statute to

designate or maintain a resident agent or engages in business in this state, but has not designated

or maintained a resident agent for service of process[.]” TEX. CIV. PRAC. & REM. CODE §

17.044(a). Also, according to Texas state law, the Texas Secretary of State is “an agent for service

of process on a nonresident who engages in business in this state, but does not maintain a regular

place of business in this state or a designated agent for service of process, in any proceeding that

arises out of the business done in this state and to which the nonresident is a party.” Id. at (b).

                       (ii)    Pursuant to TEX. CIV. PRAC. & REM. CODE § 17.045(a), McPherson

serves the Texas Secretary of State with duplicate copies of process. The full name and address of

the home office of this Defendant is Hathway, Inc., 81 Higuera Street, Suite 220, San Luis Obispo,

California 93401. See Ex. A at p. 1. Pursuant to TEX. CIV. PRAC. & REM. CODE § 17.045(b), the

individual in charge of this Defendant’s business or, alternatively, a corporate officer of this

Defendant, is Mr. Alexander A. Maherina. This individual is this Defendant’s Executive Vice

President, Managing Director, Dining and C-Store.
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               C.      Defendant Hathway, Inc. issued, or caused to be issued, a “Form W-2 Wage

and Tax Statement” for Year 2021 in which it identified McPherson’s “[e]mployer’s name” as

“Hathway, Inc.”

               D.      Defendant Hathway, Inc. issued, or caused to be issued, a “Form W-2 Wage

and Tax Statement” for Year 2022 in which it identified McPherson’s “[e]mployer’s name” as

“Hathway, Inc.”

       5.      Defendant Bounteous, Inc. is a company, formed in Delaware, that does business

in Texas. According to the Texas Secretary of State on June 2, 2023, this Defendant may be served

with process by serving its registered agent, CT Corporation System, at 1999 Bryan Street,

Suite 900, Dallas, Texas 75201-3136, or wherever else it may be found.

       6.      Though superficially distinct, Defendant Hathway, Inc. and Defendant Bounteous,

Inc. constitute a “single integrated enterprise” given their interrelation of operations, centralized

control of labor relations, common management, and common ownership or financial control.

Pleading in the alternative, Defendant Hathway, Inc. and Defendant Bounteous, Inc. constitute

“joint employers” for purposes of the “hybrid economic realities/common law control test.”

Accordingly, Defendant Hathway, Inc. and Defendant Bounteous, Inc. shall be collectively

referred to as “Defendants.”

                                           Jurisdiction

       7.      This Court has original subject matter jurisdiction over this action because

McPherson’s claims present federal questions. See 28 U.S.C. §1331; see also 28 U.S.C. §

1343(a)(4) (“civil rights”).

       8.      This Court has personal jurisdiction, specific and general, over Defendant

Hathway, Inc. because it does business in Texas, McPherson’s claims arose in Texas, and
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Defendant Hathway, Inc. is amenable to service by this Court.

        9.     This Court has personal jurisdiction, specific and general, over Defendant

Bounteous, Inc. because it does business in Texas, McPherson’s claims arose in Texas, and

Defendant Bounteous, Inc. is amenable to service by this Court.

                                              Venue

        10.    Venue is proper in this judicial district and division because a substantial part of

the events or omissions giving rise to McPherson’s claims occurred here. See 28 U.S.C. §

1391(b)(2).

                                         Material Facts

        11.    On page two of correspondence, dated February 9, 2023, to the U.S. Equal

Employment Opportunity Commission (“EEOC”), Defendant Hathway, Inc., by and through its

counsel, wrote that it “was founded in 2009 and is a digital growth partner specializing in content,

commerce, and loyalty solutions for restaurant, retail and convenience stores using data-driven

strategies, disruptive digital experiences, and modern marketing devices.”

        12.    Defendant Hathway, Inc. hired McPherson on July 13, 2015. McPherson’s job title

was “Controller.” McPherson resigned from Defendant Hathway, Inc. in January 2017. Defendant

Hathway, Inc. rehired McPherson on November 1, 2018. McPherson’s job title was “Controller.”

        13.    In a document titled “2021 Annual Performance Review Cycle,” Defendant

Hathway, Inc., by and through Ms. Maria Kahle, its “VP, Finance,” assigned to McPherson the

following “overall 2021 Performance Rating that is inclusive of job function and Core Values” --

“[e]xceeds expectations.”

        14.    According to Defendant Hathway, Inc.’s records, McPherson’s date of birth is in

1973.
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       15.    Based on McPherson’s date of birth as set forth in Defendant Hathway, Inc.’s

records, McPherson was forty-eight years of age on November 11, 2021.

       16.    According to Defendant Hathway’s, Inc.’s records, McPherson’s race is white.

       17.    On November 11, 2021, Defendant Hathway, Inc. employed approximately 200

employees.

       18.    Defendant Hathway, Inc. was acquired by Defendant Bounteous, Inc. on November

11, 2021.

       19.    On November 11, 2021, Defendant Bounteous, Inc. employed approximately 1,700

employees.

              A.      One of those employees was Mr. Mark Perez. On page two of

correspondence, dated March 10, 2023, to the EEOC, Defendant Bounteous, Inc., by and through

its counsel, wrote – “At the time of Hathway’s acquisition by Bounteous (and throughout the

duration of his [i.e., McPherson] remaining employment by Hathway), Mr. McPherson’s title of

and primary duties as Controller were already held and performed by a Bounteous incumbent,

Mark Perez … (age 41)).”

       20.    On page two of correspondence, dated March 10, 2023, to the EEOC, Defendant

Bounteous, Inc., by and through its counsel, wrote – “Following the acquisition of Hathway by

Bounteous, Mr. McPherson remained employed by Hathway. Hathway continued to issue Mr.

McPherson’s paychecks, sponsor the benefit plans in which Mr. McPherson participated, and

provide additional benefits such as paid time off (which Mr. McPherson earned and accrued

according to Hathway rather than Bounteous policy).”


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       21.       Despite the acquisition referenced in Paragraph 18 supra, Defendant Hathway, Inc.

and Defendant Bounteous, Inc. remained separate companies. Each had separate payrolls. Each

had separate financials.

       22.       Sometime in February 2022, Defendant Bounteous, Inc. held what it called a “town

hall” meeting.

                 A.     This meeting was recorded.

                 B.     This meeting was held via Zoom®.

                 C.     The CEO of Defendant Bounteous, Inc., Mr. Keith Schwartz, spoke during

this meeting.

                        (i)    Among other things, Schwartz welcomed employees from

Defendant Hathway, Inc. “to the family.”

                        (ii)   Among other things, Schwartz told attendees that Defendant

Bounteous, Inc. had not laid off anyone from any of its acquisitions.

       23.       Kahle, an employee of Defendant Hathway, Inc., resigned in February 2022.

According to Defendant Hathway’s records, Kahle was forty-one years of age at the time.

       24.       Following Kahle’s resignation, the budgeting duties previously performed by Kahle

were assigned to a certain Mr. Mitch Bloomfield.

                 A.     According to Defendant Bounteous, Inc.’s records, Bloomfield was an

employee of Defendant Bounteous, Inc.

                 B.     According to Defendant Bounteous, Inc.’s records, Bloomfield was less

than forty years old at that time.

                 C.     According to Defendant Bounteous, Inc.’s records, Bloomfield’s date of

birth comes at least eight years after Kahle’s date of birth (as contained in Defendant Bounteous,
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Inc.’s records).

       25.     At some point in early 2022, Defendants decided to integrate the accounting

systems of Defendant Hathway, Inc. into the accounting systems of Defendant Bounteous, Inc.

               A.      At that time, Defendants had separate financials, separate payrolls, separate

benefits, and different accounting practices for different streams of business.

               B.      The people leading this project were Messrs. Michael Kushner, a New

Mountain Capital Contractor, and Mr. Niko Soforo, an employee from Defendant Bounteous, Inc.

               C.      The original deadline for Defendant Hathway, Inc. staff and financials to be

running on all Defendant Bounteous systems was April 1, 2022.

       26.     In March 2022, Mr. Haroon Shakoor became Chief Accounting Officer (“CAO”)

of Defendants. In that capacity, Shakoor led the task referenced in Paragraph 25 supra.

               A.      The previous CAO at Defendant Bounteous, Inc., Mr. Timothy Mihok, left

in February 2022.

       27.     To do the task referenced in Paragraph 25 supra, people from Defendant Hathway,

Inc., including McPherson, needed training to learn how the accounting systems of Defendant

Bounteous, Inc. worked.

       28.     Starting from Shakoor’s arrival in March 2022, and continuing through May 23,

2022, McPherson asked Shakoor for training for himself and the people who reported to him.

               A.      McPherson did this more than once.

               B.      McPherson did this more than twice.

               C.      McPherson did this more than three times.

       29.     Defendant Bounteous, Inc., by and through Shakoor, chose not to provide any

training, both for McPherson and the people who reported to him, concerning the accounting
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systems of Defendant Bounteous, Inc.

       30.     Defendants did not meet the deadline referenced in Paragraph 25.C.

       31.     On or about May 24, 2022, McPherson tendered an outline of his requests for

training to Kushner.

       32.     On June 17, 2022, McPherson was over forty years of age.

       33.     On June 17, 2022, McPherson suffered from no disability that rendered him unfit

for the position of Controller.

       34.     On June 17, 2022, McPherson suffered from no loss of any necessary professional

license that rendered him unfit for the position of Controller.

       35.     On June 17, 2022, McPherson suffered from no occurrence that rendered him unfit

for the position for the position of Controller.

       36.     On June 17, 2022, Shakoor met with McPherson.

       37.     On June 17, 2022, Shakoor met with McPherson, at which time Shakoor informed

McPherson that his, i.e., McPherson’s, employment will terminate effective June 24, 2022.

               A.      On page three of correspondence, dated March 10, 2023, to the EEOC,

Defendant Bounteous, Inc., by and through its counsel, wrote – “The decision to terminate Mr.

McPherson’s employment was made by Mr. Shakoor (age 41) and Jeffrey Wink … Chief Financial

Officer of Bounteous and Hathway (age 40).”

                       (i)        Defendant Bounteous, Inc. employed more than one Chief Financial

Officer (“CFO”) at this time. Its other CFO was Mr. Karthik Raghuram.

               B.      On page three of correspondence, dated March 10, 2023, to the EEOC,

Defendant Bounteous, Inc., by and through its counsel, wrote – “Messrs. Shakoor and Wink

decided to terminate Mr. McPherson’s employment because Mr. McPherson’s duties were already
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being performed by Bounteous incumbents.”

               C.      On page three of correspondence, dated March 10, 2023, to the EEOC,

Defendant Bounteous, Inc., by and through its counsel, wrote – “During this meeting, Mr. Shakoor

told Mr. McPherson that his role was being eliminated due to the fact that Bounteous already

employed its own Controller, making his position redundant.”

       38.     As of June 24, 2022, Defendants still had not fully completed the task referenced

in Paragraph 25 supra.

       39.     After June 24, 2022, McPherson discovered that Defendant Bounteous, Inc., by and

through Shakoor, was using offshore workers for the tasks he had previously been doing. These

offshore workers were substantially younger in age than McPherson. These offshore workers

were also a different ethnicity than McPherson as they were Indian or Pakistani.

       40.     Shortly after June 24, 2022, McPherson applied to the Texas Workforce

Commission (“TWC”) for unemployment benefits. In processing this application, TWC identified

Defendant Hathway, Inc. as McPherson’s employer.

       41.     On December 7, 2022, McPherson signed and dated a Form 5 from EEOC, titled

“Charge of Discrimination” (“Charge”), in which he named Defendant Hathway, Inc. as

Respondent. McPherson then had the Charge transmitted to EEOC. Upon receipt, EEOC stamped

the Charge as follows – “EEOC rec’d 12/08/2022.” Upon receipt, EEOC also assigned the

following number to the Charge: 450-2023-01776. On April 18, 2023, EEOC issued a document,

titled, in part, Notice of Right to Sue.” McPherson has filed this action against Defendant Hathway,

Inc. fewer than ninety days from April 18, 2023.

       42.     On December 7, 2022, McPherson signed and dated a Charge from EEOC in which

he named Defendant Bounteous, Inc. as Respondent. McPherson then had the Charge transmitted
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to EEOC. Upon receipt, EEOC stamped the Charge as follows – “EEOC rec’d 12/08/2022.” Upon

receipt, EEOC also assigned the following number to the Charge: 450-2023-01771. On April 26,

2023, EEOC issued a document, titled, in part, Notice of Right to Sue.” McPherson has filed this

action against Defendant Bounteous, Inc. fewer than ninety days from April 26, 2023.

       43.     As a result of Defendants’ conduct, including the foregoing, McPherson has

sustained financial losses and mental anguish. He is continuing to sustain such losses.

                                           COUNT ONE:
                            Violation of ADEA; Discrimination/Discharge

       44.     McPherson re-alleges and incorporates by reference all allegations set forth in

paragraphs 11 through 43.

       45.     McPherson brings this claim against both Defendants.

       46.     McPherson was an “employee” of Defendants, as that term is defined in 29 U.S.C.

§ 630(f), at all times from November 11, 2021 through the close of business on June 24, 2022.

       47.     Defendants were McPherson’s “employer,” as that term is defined in 29 U.S.C. §

630(b), at all times from November 11, 2021 through the close of business on June 24, 2022.

       48.     The ADEA states that “[i]t shall be unlawful for an employer … to discharge any

individual … because of such individual’s age[.]” 29 U.S.C. § 623(a)(1). Defendants violated this

statute when they discharged McPherson.

       49.     The Material Facts portion of this pleading establishes a prima facie violation of

the ADEA. First, McPherson was a member of a protected class. Second, McPherson was

“qualified” for prima facie purposes. Third, McPherson suffered a cognizable adverse employment

action. Fourth, Defendants replaced McPherson with someone younger, or alternatively,

Defendants treated McPherson less favorably than other similarly situated younger workers.

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        50.     All prerequisites to the filing of this ADEA claim have been fulfilled.

        51.     McPherson seeks all relief available to him under the ADEA. Thus, McPherson is

entitled to an award of back pay, interest on back pay, reinstatement or in the alternative front pay,

the value of lost employment benefits, and all other appropriate legal and equitable relief that is

within the scope of 29 U.S.C. § 626(b). Also, and because Defendants’ violation of the ADEA was

willful, McPherson is entitled to an award of liquidated damages. 29 U.S.C. § 626(b). McPherson

is entitled to recover reasonable attorney’s fees and costs pursuant to 29 U.S.C. § 626(b).

                                         COUNT TWO:
                      Violation of Section 1981; Discrimination/Discharge

        52.     McPherson re-alleges and incorporates by reference all allegations set forth in

paragraphs 11 through 43.

        53.     McPherson brings this claim against both Defendants.

        54.     Section 1981 states, “All persons … shall have the same right … to make and

enforce contracts[.]” Id. at (a) (bold font and underline added). Defendants violated this statute

when they discharged McPherson.

        55.     The Material Facts portion of this pleading establishes a prima facie violation of

Section 1981. First, McPherson was a member of a protected class. Second, McPherson was

“qualified” for prima facie purposes. Third, McPherson suffered a cognizable adverse employment

action. Fourth, Defendants replaced McPherson with someone of a different race or ethnicity, or

alternatively, Defendants treated McPherson less favorably than other similarly situated workers

of a different race or ethnicity.

        56.     McPherson seeks all relief available to him under Section 1981. This includes but

is not limited to the following categories: (a) all wages and employment benefits, starting on the

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effective date of McPherson’s discharge, and ending on the date when a jury renders a verdict

(“back pay”); (ii) reinstatement, or, if that is found to be inappropriate, then a sum of money that

is equal to all wages and benefits, starting from the date when a jury renders a verdict, and ending

on the date when it is determined that McPherson will be made whole (“front pay”); (iii)

compensatory damages, past and future, for future pecuniary losses, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life and other nonpecuniary losses; (iv)

punitive damages, given the fact that Defendants engaged in such discriminatory practices with

malice or reckless indifference to McPherson’s federally-protected rights. This also includes all

equitable relief, all interest allowed by law, e.g., pre-judgment and post-judgment, a reasonable

attorney's fee to the undersigned counsel as part of the costs, reimbursement of expert fees as part

of the undersigned counsel’s attorney's fee, and all other costs allowed by law.

                                          Jury Demand

       57.     McPherson demands a jury on all issues so triable. See FED. R. CIV. P. 38(a).

                                        Request for Relief

       WHEREFORE, Plaintiff Brandyn McPherson asks that Defendant Hathway, Inc. and

Defendant Bounteous, Inc. appear and answer, and that on trial of this action McPherson have final

judgment, joint and several, against Defendants as set forth hereinabove, and for all such other and

further relief to which McPherson is justly entitled.

Dated: June 13, 2023.

                                              Respectfully submitted,

                                                     /s/ Wade A. Forsman
                                              By: __________________________________
                                                     Wade A. Forsman
                                                     State Bar No. 07264257
                                                     P.O. Box 918
First Amended Complaint                                                                     Page 12
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                                   Attorney for Plaintiff Brandyn McPherson




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                       BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
Filing Number:           804087726                     Entity Type:   Foreign For-Profit Corporation
Original Date of Filing: May 24, 2021                  Entity Status: In existence
Formation Date:          N/A
Tax ID:                  32077430182                   FEIN:          464483307
Name:                    HATHWAY, INC.
Address:                 81 Higuera St. #220
                         San Luis Obispo, CA 93401 USA
Fictitious Name:         N/A
Jurisdiction:            DE, USA
Foreign Formation        December 30, 2013
Date:
   REGISTERED          FILING                                        ASSUMED        ASSOCIATED
     AGENT            HISTORY          NAMES        MANAGEMENT        NAMES          ENTITIES  INITIAL ADDRESS

 Name                                    Address                                         Inactive Date
 Brandyn McPherson                       17800 Krause Springs Dr.
                                         Mckinney, TX 75071 USA


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                       BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
Filing Number:           804087726                     Entity Type:   Foreign For-Profit Corporation
Original Date of Filing: May 24, 2021                  Entity Status: In existence
Formation Date:          N/A
Tax ID:                  32077430182                   FEIN:          464483307
Name:                    HATHWAY, INC.
Address:                 81 Higuera St. #220
                         San Luis Obispo, CA 93401 USA
Fictitious Name:         N/A
Jurisdiction:            DE, USA
Foreign Formation        December 30, 2013
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   REGISTERED          FILING                                        ASSUMED        ASSOCIATED
     AGENT            HISTORY          NAMES        MANAGEMENT        NAMES          ENTITIES  INITIAL ADDRESS

 View Document                                                                                       Eff.     Page
 Image Number        Filing Type                               Filing Date        Effective Date     Cond     Count
       1053722910002 Application for Registration              May 24, 2021       May 24, 2021       No       4
         1138408210001 Public Information Report (PIR)         December 31, 2021 April 10, 2022          No   1


 Order     Return to Search




                       BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
Filing Number:           804087726                  Entity Type:   Foreign For-Profit Corporation
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Formation Date:          N/A
Tax ID:                  32077430182                FEIN:          464483307
Name:                    HATHWAY, INC.
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Address:                  81 Higuera St. #220
                          San Luis Obispo, CA 93401 USA
Fictitious Name:          N/A
Jurisdiction:             DE, USA
Foreign Formation         December 30, 2013
Date:
   REGISTERED      FILING                                 ASSUMED    ASSOCIATED
     AGENT        HISTORY        NAMES    MANAGEMENT       NAMES      ENTITIES  INITIAL ADDRESS

 Last Update      Name                    Title              Address
 April 10, 2022   JESSE M. DUNDON         CEO                81 HIGUERA ST, SUITE #220
                                                             SAN LUIS OBISPO, CA 93401 USA
 April 10, 2022     JESSE M. DUNDON       DIRECTOR           81 HIGUERA ST, SUITE #220
                                                             SAN LUIS OBISPO, CA 93401 USA
 April 10, 2022     KEVIN RICE            CMO & PRESIDENT    81 HIGUERA ST, SUITE #220
                                                             SAN LUIS OBISPO, CA 93401 USA
 April 10, 2022     KEVIN RICE            DIRECTOR           81 HIGUERA ST, SUITE #220
                                                             SAN LUIS OBISPO, CA 93401 USA
